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 1    SEYFARTH SHAW LLP
      Robert B. Milligan (SBN 217248)
 2    rmilligan@seyfarth.com
      Sierra J. Chinn-Liu (SBN 322994)
 3    schinnliu@seyfarth.com
      2029 Century Park East, Suite 3500
 4    Los Angeles, California 90067-3021
      Telephone: (310) 277-7200
 5    Facsimile: (310) 201-5219
 6    Attorneys for Plaintiff
      3G PRODUCTIONS, INC.
 7
      FREUNDLICH LAW
 8    Kenneth D. Freundlich (SBN 119806)
      ken@freundlichlaw.com
 9    Michael J. Kaiser (SBN 258717)
      mkaiser@freundlichlaw.com
10    16133 Ventura Blvd., Suite 645
      Encino, California 91436
11    Telephone: (818) 377-3790
      Facsimile: (310) 275-5351
12
      Attorneys for Defendant
13    BEAUTYCON MEDIA, INC.
14
15                                UNITED STATES DISTRICT COURT
16                           CENTRAL DISTRICT OF CALIFORNIA
17
18    3G PRODUCTIONS, INC., a Nevada              Case No. 2:20-cv-01379-FMO-JEM
      corporation,
19                                                STIPULATION AND JOINT
                     Plaintiff,                   REQUEST TO BRIEFLY
20                                                CONTINUE DEFENDANT’S
               v.                                 DEADLINE TO FILE A MOTION
21                                                PURSUANT TO FED. R. CIV. P. 60
      BEAUTYCON MEDIA, INC., a Delaware
22    corporation,
23                   Defendant.
                                                  Date Action Filed: February 11, 2020
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       STIPULATION AND JOINT REQUEST TO BRIEFLY CONTINUE DEFENDANT’S
            DEADLINE TO FILE A MOTION PURSUANT TO FED. R. CIV. P. 60
      65246551v.1
     Case 2:20-cv-01379-FMO-JEM Document 45 Filed 08/11/20 Page 2 of 3 Page ID #:362



 1             Pursuant to Central District of California Civil Local Rules 7-1, 7-3, and 7-11,
 2    Plaintiff 3G Productions, Inc. and Defendant Beautycon Media, Inc. (collectively, the
 3    “Parties”), by and through their respective counsel of record, hereby stipulate as follows:
 4             WHEREAS, in accordance with the Court’s Order dated July 28, 2020, the Parties
 5    met and conferred regarding the purported bases for Defendant’s motion to set aside
 6    default judgment under Fed. R. Civ. P. 60 on August 5, 2020;
 7             WHEREAS, the Parties continued their meet and confer discussions on August 7,
 8    2020, and August 10, 2020, and agree that additional time is needed to reach a resolution
 9    regarding Defendant’s anticipated motion, and potentially dispose of this matter;
10             WHEREAS, the Parties agree that Defendant’s deadline to file its motion, in the
11    event they are unable to reach a resolution, may be extended to August 17, 2020;
12             WHEREAS, the Parties agree that the extension requested herein would not affect
13    the schedule for this case.
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       STIPULATION AND JOINT REQUEST TO BRIEFLY CONTINUE DEFENDANT’S
                 DEADLINE TO FILE A MOTION PURSUANT TO FED. R. CIV. P. 60
      65246551v.1
     Case 2:20-cv-01379-FMO-JEM Document 45 Filed 08/11/20 Page 3 of 3 Page ID #:363



 1             NOW THEREFORE, the Parties, through their respective counsel of record,
 2    stipulate and respectfully request that the Court:
 3             1.    Continue Defendant’s deadline to file a motion pursuant to Fed. R. Civ. P.
 4    60 from August 12, 2020 to August 17, 2020.
 5             IT IS SO STIPULATED.
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 7                                  SIGNATURE ATTESTATION
 8             I, Robert B. Milligan, attest that I have obtained concurrence from Kenneth D.
 9    Freundlich in the filing of this Stipulation and Joint Request to Briefly Continue
10    Defendant’s Deadline to File a Motion Pursuant to Fed. R. Civ. P. 60, and his approval to
11    affix his electronic signature to this filing.
12                                         /s/ Robert B. Milligan
13
14    DATED: August 11, 2020                           Respectfully submitted,
15                                                     SEYFARTH SHAW LLP
16
17                                                     By: /s/ Robert B. Milligan
                                                          Robert B. Milligan
18                                                        Attorneys for Plaintiff
                                                          3G PRODUCTIONS, INC.
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      DATED: August 11, 2020                           Respectfully submitted,
21
                                                       FREUNDLICH LAW
22
23
                                                       By: /s/ Kenneth D. Freundlich
24                                                        Kenneth D. Freundlich
25                                                        Attorneys for Defendant
                                                          BEAUTYCON MEDIA, INC.
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       STIPULATION AND JOINT REQUEST TO BRIEFLY CONTINUE DEFENDANT’S
                 DEADLINE TO FILE A MOTION PURSUANT TO FED. R. CIV. P. 60
      65246551v.1
